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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

NORTHERN DIVISION
BAD BOY, INC. PLAINTIFF
V. No. 1:16-cv-114-DPM
SPARTAN MOWERS LLC;
INTIMIDATOR, INC.; and
RF PRODUCTS, INC. DEFENDANTS
]UDGMENT

The first amended eomplaint and Counterclaim are dismissed
With prejudice

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D.P. Marshau Ji“.
United States District judge

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